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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

CURTIS WINCHESTER,                                  §
                                                    §
       Plaintiff,                                   §
                                                    §
v.                                                  §     Civil Action No. 3:17-CV-01985-N
                                                    §
ALLSTATE VEHICLE AND PROPERTY                       §
INSURANCE COMPANY                                   §
                                                    §
       Defendant.                                   §

                    AGREED ORDER FOR DISMISSAL WITH PREJUDICE

       Came on for consideration the Agreed Motion for Dismissal with Prejudice in this cause.

It is appearing to the Court that all matters in controversy between the parties have been resolved

and that such Motion is well taken, the Motion is hereby GRANTED.

       IT IS ORDERED that this cause be and hereby is dismissed with prejudice to the refiling

of same.

       IT IS FURTHER ORDERED that all costs of court are taxed against the parties incurring

the same.

       SIGNED this 27th day of July, 2018.




                                             DAVID C. GODBEY
                                             UNITED STATES DISTRICT JUDGE




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Stipulated and agreed to by:

By:   /s/ Mark J. Jung
      Roger D. Higgins
      State Bar No. 09601500
      Mark J. Jung
      State Bar No. 24012934

THOMPSON, COE, COUSINS & IRONS, L.L.P.
Plaza of the Americas
700 N. Pearl Street, Twenty-Fifth Floor
Dallas, TX 75201-2832
Telephone: (214) 871-8200
Fax: (214) 871-8209
E-Mail: rhiggins@thompsoncoe.com
E-Mail: mjung@thompsoncoe.com

ATTORNEYS FOR DEFENDANT

And

By:   /s/ Sean Patterson
      James M. McClenny
      james@mma-pllc.com
      State Bar No. 24091857
      J. Zachary Moseley
      zach@mma-pllc.com
      State Bar No. 24092863
      Sean Patterson
      sean@mma-pllc.com
      State Bar No. 24073546

MCCLENNY MOSELEY & ASSOCIATES, PLLC
411 N. Sam Houston Parkway E. Suite 200
Houston, TX 77060
Telephone: (713) 664-6121
Fax: (713) 322-5953

ATTORNEY FOR PLAINTIFF




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